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 8                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                   AT SEATTLE

10   PREMERA BLUE CROSS,
11                                    Plaintiff,
                                                   Case No. 2:21-cv-1399
12          vs.
                                                   COMPLAINT JURY
13   GS LABS, LLC,
                                                   DEMAND
14
                                   Defendant.
15

16          Premera Blue Cross brings this Complaint against GS Labs, LLC, and alleges as
17   follows.
18                                    NATURE OF THE ACTION
19          1. This case concerns a laboratory that has attempted to exploit the COVID-19
20   pandemic—and the extraordinary legislation Congress enacted to combat the pandemic—for its
21   own financial gain.
22          2. GS Labs is a Nebraska-based laboratory system that provides COVID-19 testing at
23   sites in Iowa, Minnesota, Nebraska, Oregon, and Washington. In order to increase the amounts
24   it may bill insurers, it systematically subjects patients to expensive and medically unnecessary
25   testing. In the words of one former employee, it “manipulates people into thinking they need all
26   three Covid [sic] tests” that GS Labs offers, such that “[p]atients are being lied to just so th[e]
27   company can make a profit.”
     COMPLAINT – 1                                                   KILPATRICK TOWNSEND & STOCKTON LLP
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 1              3. GS Labs also frequently fails to maintain acceptable quality levels in its testing and

 2   reporting of results. In one incident, GS Labs failed to timely report the results of 200 tests,

 3   leading one individual who ultimately tested positive to “walk[ ] around with COVID for a

 4   week,” potentially spreading the virus. 1 GS Labs has billed Premera for hundreds of COVID-19

 5   tests (if not more) that were, by its own admission, tainted by “deviat[ions] from applicable

 6   laboratory standards for testing facilities” that “may have impacted [patients’] test results.”

 7              4. Despite these shortcomings, GS Labs charges extraordinarily high prices ranging

 8   from $380 to $979 per test. These prices are in some cases ten times higher than those charged

 9   by other labs. But GS Labs maintains that insurers must pay these high prices, irrespective of

10   its illegal testing practices and the quality of its work, due to the Coronavirus Aid, Relief, and

11   Economic Security Act (CARES Act).

12              5. Congress passed the CARES Act 2 at the outset of the COVID-19 pandemic. The Act

13   requires that, in the absence of an agreement to other rates, health insurers must reimburse

14   laboratories for COVID-19 testing at the “cash price” they post to their respective websites. 3

15   Federal regulations implementing the CARES Act define “cash price” as “the charge that

16   applies to an individual who pays in cash (or cash equivalent) for a COVID-19 diagnostic

17   test.” 4

18              6. GS Labs has posted extremely high prices for COVID-19 testing on its website,

19   contending that they are its “cash prices” for purposes of the CARES Act. On that basis, it has

20   attempted to force insurers (including Premera) to pay these exorbitant prices, threatening to

21   sue them, and to report them to federal authorities, unless they pay in full.

22              7. But GS Labs’ “cash prices” are a sham. For individuals paying cash, GS Labs

23   charges rates that are less than one third of those it has posted to its website. It has attempted to

24
     1
      Lauren Melendez, KCTV5, “I walked around with COVID for a week, because of late
25  results.” GS Labs, subcontractor issue delays COVID info (Dec. 19, 2020),
    https://tinyurl.com/45j9nwsv.
26 2 Pub. L. No. 116-136, 134 Stat. 281 (2020).
    3
      CARES Act § 3202(a).
27 4 85 FR 71142, 71152 (Nov. 6, 2020).
   COMPLAINT – 2                                                KILPATRICK TOWNSEND & STOCKTON LLP
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 1   obscure that fact by offering every cash-pay patient a “discount” of at least 70% on its “cash

 2   prices,” without noting that fact in its “cash price” disclosure. GS Labs has thus misrepresented

 3   its “cash prices” in an effort to deceive Premera and other insurers into paying rates that far

 4   exceed the reasonable value of its services.

 5          8. Finally, in order to ensure payment, GS Labs peppers its claims with falsehoods. For

 6   example, virtually every claim GS Labs has submitted to Premera has indicated that the patient

 7   complained of COVID-19 symptoms or exposure. In some instances, the claims reflect unusual

 8   and extremely serious diagnoses. But GS Labs does not perform individual patient assessments,

 9   and includes these false diagnoses in an effort to obtain higher payments. In particular, doing so

10   conceals the fact that at least some of the testing performed by GS Labs is not subject to the

11   CARES Act’s “cash price” requirement, such as screen testing for workplace safety. Moreover,

12   in some cases, GS Labs has submitted claims to Premera for tests it did not perform at all.

13          9. Premera paid GS Labs roughly $10,000 from health plans it fully insures or

14   administers for COVID-19 testing, some or all of which it has learned was not payable for the

15   reasons discussed herein. GS Labs has submitted additional claims to Premera for which it

16   seeks further payments totaling more than $26 million. It has threatened legal action, and to

17   report Premera to state and federal authorities for purported CARES Act violations, if Premera

18   does not pay in full.

19          10. Premera is entitled to recoup the amounts it paid for medically unnecessary,

20   unauthorized, and faulty testing. Premera further disputes that it owes the amount GS Labs

21   claims. GS Labs is neither entitled to payment at the extraordinarily high rates it demands, nor

22   for its medically unnecessary, unauthorized, or faulty testing.

23          11. Premera has attempted to negotiate with GS Labs, but GS Labs will not accept

24   payment at reasonable rates. GS Labs continues to submit claims to Premera with extremely

25   high billed charges, and to demand payment in full from Premera.

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27
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 1          12. Premera brings this action to recover the losses GS Labs has caused through its

 2   unlawful and deceptive actions, to dispel the cloud of legal uncertainty created by GS Labs’

 3   demands for excessive payment, and to enjoin GS Labs’ continuing inequitable conduct.

 4                                              PARTIES

 5          13. Premera Blue Cross is a nonprofit corporation incorporated in Washington, with its

 6   principal place of business in Mountlake Terrace, Washington. Premera offers fully insured

 7   health plans and serves as an administrator for self-funded insurance plans.

 8          14. Defendant GS Labs, LLC is a limited liability company formed under the laws of

 9   Nebraska. In public filings with various state governments, GS Labs states that its principal

10   place of business is located in Omaha, Nebraska.

11          15. According to public records, GS Labs’ members are Daniel White, Christopher

12   Erickson, and Gabriel Sullivan. These individuals are all residents of Nebraska.

13                                   JURISDICTION AND VENUE

14          16. This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332

15   because there is complete diversity of citizenship between Premera and GS Labs and the

16   amount in controversy exceeds $75,000.

17          17. This Court also has subject matter jurisdiction over this action under 28 U.S.C.

18   § 1331 because it arises under the Constitution, laws, or treaties of the United States.

19   Specifically, Premera asserts a claim under the Employee Retirement Income Security Act of

20   1974 (ERISA), 29 U.S.C. § 1001 et seq. Premera has standing to bring its ERISA claim as a

21   claims administrator of self-funded health plans. The Court further has subject matter

22   jurisdiction over Premera’s state and common law claims under 28 U.S.C. § 1367, as those

23   claims are so related to the federal claim that they form part of the same case or controversy.

24          18. This Court has personal jurisdiction over GS Labs because this case arises out of

25   activities GS Labs conducted in, and directed to, Washington State. In particular, it arises out of

26   COVID-19 testing GS Labs performed on Washington residents at testing sites it maintains in

27
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 1   Washington State, and out of insurance claims GS Labs submitted to Premera in Washington

 2   State related to that testing.

 3           19. Venue is proper in this district under 28 U.S.C. § 1391 because a substantial part of

 4   the events giving rise to the claims in this action have occurred in this district. Specifically, GS

 5   Labs maintains three of its Washington State testing sites in this district.

 6                                           BACKGROUND

 7                       Premera’s Fully Funded and Self-Funded Health Plans

 8           20. Premera is a health insurance company serving Washington and Alaska.

 9           21. As relevant to this litigation, Premera both offers fully funded health plans, and

10   provides administrative services for self-funded health plans.

11           22. Premera both funds and administers its fully funded plans. Premera pays claims

12   submitted to its fully funded plans out of its own assets.

13           23. Premera’s self-funded plans, or Administrative Services Only (“ASO”) plans, are

14   funded by contributions from their respective sponsor employers and member employees.

15   Many of Premera’s ASO plans, including plans at issue in this litigation, are subject to ERISA.

16           24. Premera provides administrative services for ASO plans pursuant to Administrative

17   Services Agreements, which identify the respective rights and obligations of Premera and the

18   plan sponsors. Premera serves as a fiduciary of its ASO plans that are subject to ERISA.

19           25. Premera acts as claims administrator and has been delegated the authority to pursue

20   recovery of payments made by Premera on behalf of certain self-funded plans covered by

21   ERISA. Premera has standing to sue under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), for

22   declaratory and injunctive relief to enjoin any acts or practices that violate the provisions of the

23   plans and to obtain other appropriate relief to redress violations of and enforce plan terms.

24           26. Premera will provide further details concerning the health plans and claims at issue

25   in this litigation following the entry of a HIPAA qualified protective order.

26           27. Beyond health plans Premera insures or administers, Premera serves members of

27   other Blue Cross Blue Shield companies through the BlueCard program and National Account
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 1   Service Company (NASCO). With respect to both, Premera processes and pays claims for

 2   members of other Blue Cross Blue Shield companies in the first instance.

 3                     The CARES Act and Applicable Regulations and Guidance

 4           28. In response to the COVID-19 pandemic, Congress passed the Families First

 5   Coronavirus Response Act (“FFCRA”) on March 18, 2020. 5

 6           29. The FFCRA requires, in relevant part, that health insurers cover approved forms of

 7   COVID-19 testing at no cost to patients. 6

 8           30. It further provides, in a subsection titled “ENFORCEMENT,” that “the Secretary of

 9   Health and Human Services, Secretary of Labor, and Secretary of the Treasury” are charged

10   with enforcing this provision of the Act. 7

11           31. On March 27, 2020, Congress supplemented the FFCRA with the CARES Act,

12   which (among other things) governs reimbursement for COVID-19 testing. The CARES Act

13   states, in relevant part:

14           (a) REIMBURSEMENT RATES.—A group health plan or a health insurance issuer

15           providing coverage of items and services described in section 6001(a) of division F of

16           the Families First Coronavirus Response Act (Public Law 116–127) with respect to an

17           enrollee shall reimburse the provider of the diagnostic testing as follows:

18               ...

19               (2) If the health plan or issuer does not have a negotiated rate with such

20               provider, such plan or issuer shall reimburse the provider in an amount that

21               equals the cash price for such service as listed by the provider on a public

22               internet website, or such plan or issuer may negotiate a rate with such

23               provider for less than such cash price. 8

24

25
     5
     Pub. L. No. 116-127, 134 Stat. 178 (2020).
26   6
     FFCRA § 6001(a).
     7
     Id. § 6001(b).
27   8
     CARES Act § 3202(a).
   COMPLAINT – 6                                                     KILPATRICK TOWNSEND & STOCKTON LLP
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 1          32. The CARES Act requires “each provider of a diagnostic test for COVID–19 [to]

 2   make public the cash price for such test on a public internet website of such provider,” and

 3   subjects providers who fail to do so to monetary penalties. 9

 4          33. Providers must post their “cash price” in a centralized, easy-to-find location, and

 5   must include “[a]ny additional information as may be necessary for the public to have certainty

 6   of the cash price that applies to each COVID-19 diagnostic test.” 10 As explained by the Centers

 7   for Medicare & Medicaid Services (“CMS”), “if the provider offers the same test at a different

 8   cash price that is dependent on location or some other factor, then on its website listing of cash

 9   prices, the provider must indicate all the cash prices that apply to the test and relevant

10   distinguishing information as to when each different cash price applies.” 11 Similarly, COVID-

11   19 test pricing must be available “[w]ithout having to submit personal identifiable

12   information.” 12

13          34. Federal regulations issued by CMS implementing the CARES Act define “cash

14   price” to mean “the charge that applies to an individual who pays cash (or cash equivalent) for

15   a COVID-19 diagnostic test.” 13

16          35. CMS explained this definition in its interim final rule as follows:

17          The “cash price” is generally analogous to the “discounted cash price” as

18          defined at 45 CFR 180.20 for purposes of the Hospital Price Transparency final

19          rule. As we explained in that rule, providers often offer discounts off their gross

20          charges or make other concessions to individuals who pay for their own care

21          (referred to as self-pay individuals). . . . We also stated that the discounted cash

22          price may be generally analogous to the “walk-in” rate that would apply to all

23          self-pay individuals, regardless of insurance status, who pay in cash at the time

24          of the service, and that such charges are often lower than the rate the hospital

25   9
       Id. § 3202(b).
     10
        85 FR at 71204.
26   11
        Id. at 71153.
     12
        Id. at 71204.
27   13
       Id. at 71142.
     COMPLAINT – 7                                                   KILPATRICK TOWNSEND & STOCKTON LLP
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 1          negotiates with third party payers because billing self-pay individuals would not

 2          require many of the administrative functions that exist for hospitals to seek

 3          payment from third party payers (for example, prior authorization and billing

 4          functions). It is therefore our expectation that the “cash price” established by the

 5          provider will be generally similar to, or lower than, rates negotiated with in-

 6          network plans and insurers. 14

 7          36. CMS has clarified that certain kinds of testing for COVID-19 are not subject to the

 8   “cash price” provisions of the CARES Act. In particular, this provision does not apply to

 9   “testing for general workplace health and safety, for public health surveillance, or for other

10   purposes not primarily intended for individualized diagnosis or treatment of COVID-19.” 15

11          37. CMS has raised concerns that the “cash price” requirement may lead to “price

12   gouging,” and has requested comment on “authorities and safeguards that could be used to

13   mitigate concerns for price gouging both for group health plans and issuers and for consumers

14   receiving a COVID-19 diagnostic test.” 16 It has explained that while “most providers have been

15   pricing COVID-19 tests at reasonable levels, generally consistent with reimbursement rates set

16   by the Medicare program, . . . some providers have not done so and are using the public health

17   emergency as an opportunity to impose extraordinarily high charges.” 17

18                           GS Labs and its Unlawful Testing Practices

19          38. GS Labs is a laboratory system founded in January of 2020. It operates COVID-19

20   testing sites throughout the United States. Four of those sites are located in Washington State:

21   one in Federal Way, one in Lynnwood, one in Bellevue, and one in Vancouver. It is out-of-

22   network with Premera—i.e., it has no contract with Premera to serve Premera insureds.

23
     14
       Id. at 71152.
24   15
       CMS, FAQs About Families First Coronavirus Response Act and Coronavirus Aid, Relief,
    and Economic Security Act Implementation Part 44 (Feb. 26, 2021),
25 https://tinyurl.com/n74pbah5.
    16
       85 FR at 71153.
26 17 HHS, FAQs About Families First Coronavirus Response Act and Coronavirus Aid, Relief,
    and Economic Security Act Implementation Part 44 (Feb. 26, 2021),
27 https://tinyurl.com/n74pbah5.
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 1          39. There are many other testing sites near each of GS Labs’ Washington locations

 2   offering the same or similar testing services: four within ten miles of the Federal Way site, five

 3   within ten miles of the Lynwood site, three within ten miles of the Bellevue site, and ten within

 4   ten miles of the Vancouver site. These other providers offer COVID-19 testing at a fraction of

 5   the price charged by GS Labs, and without the endemic quality problems discussed below that

 6   have plagued GS Labs.

 7          40. GS Labs’ testing sites serve high volumes of patients with short appointments. It has

 8   represented that its testing sites can accommodate as many as 1,000 patients a day.

 9          41. Typically, patients remain in their cars throughout the appointment, and nurses

10   obtain samples for testing through the car window. Below is a photo of one representative

11   testing site in Lee’s Summit, MO:

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22          42. As relevant here, the tests GS Labs offers are:

23                  a. Rapid Antigen testing: These tests require a nasal swab of the patient. They

24                      detect protein fragments indicating COVID-19 infection, and produce results

25                      quickly—typically in as little as 20 minutes. These tests are relatively cheap

26                      and are highly effective in detecting most COVID-19 infections.

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 1                  b. Polymerase Chain Reaction (“PCR”) testing: These tests require a nasal

 2                      or oral swab of the patient. GS Labs offers three forms of PCR testing:

 3                      i. COVID-19 PCR testing: These tests detect genetic material indicating

 4                          COVID-19 infection. Most labs are able to produce results for COVID-

 5                          19 PCR tests within 24 hours. While these tests are slower and somewhat

 6                          more expensive than rapid antigen tests, they are also slightly more

 7                          effective at detecting COVID-19 exposure early on.

 8                      ii. Bio-Fire PCR testing: These tests are like COVID-19 PCR tests, but

 9                          detect 21 respiratory pathogens in addition to COVID-19. They are

10                          significantly more expensive than COVID-19 PCR tests and provide no

11                          additional benefits related to detecting COVID-19 infection.

12                     iii. GenMark ePlex Respiratory Pathogen 2 Panel testing: These tests are

13                          also like COVID-19 PCR tests, but detect 20 respiratory pathogens in

14                          addition to COVID-19. They too are significantly more expensive than

15                          COVID-19 PCR tests and provide no additional benefits related to

16                          detecting COVID-19 infection.

17                  c. Rapid Antibody testing: These tests require a blood sample from the

18                      patient. Unlike the tests discussed above, rapid antibody testing does not

19                      detect current COVID-19 infection. Rather, it detects antibodies that develop

20                      after COVID-19 exposure, which can indicate prior COVID-19 infection. 18

21           43. The appropriate test to administer among those listed above depends on the patient’s

22   needs and circumstances. Typically, it is appropriate to administer only one test.

23           44. FDA guidance explains that, when deciding between antigen and PCR tests for

24   asymptomatic patients, providers generally should “consider” the most “sensitive” COVID-19

25   18
       As of the filing of this Complaint, GS Labs has recently begun offering an additional type of
    test: a small respiratory panel that detects COVID-19, as well as three other respiratory
26 pathogens, which it has priced at $499 per test. GS Labs has not yet submitted an appreciable
    number of claims for this test to Premera, but Premera reserves the right to amend its
27 Complaint should that change.
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 1    test that can be performed without a “prolonged” delay in results. 19 Patients need only undergo

 2    both antigen and PCR testing when a PCR test is required to confirm an antigen test result. And

 3    for most patients, “[i]t is not necessary to perform confirmatory high sensitivity molecular tests

 4    [(i.e., PCR tests)] on individuals with negative antigen test . . . results.” 20

 5            45. Moreover, rapid antibody testing serves a diagnostic purpose only in very limited

 6    circumstances. The CDC has explained that antibody testing generally “should not be used to

 7    establish the presence or absence” of COVID-19 infection. Similarly, “it is not currently known

 8    whether a positive antibody test result indicates immunity against SARS-CoV-2; therefore, at

 9    this time, antibody tests should not be used to determine if an individual is immune against

10    reinfection.” Instead, antibody testing only serves a diagnostic purpose when (1) administered

11    more than a week after the onset of acute illness that may be COVID-19; or (2) when patients

12    present with late complications of COVID-19 illness. 21 The CARES Act only applies to

13    antibody testing in these limited circumstances. And Premera’s policies only cover antibody

14    testing when utilized for diagnostic purposes as outlined above. 22

15            46. There are virtually no circumstances under which it is medically appropriate to

16    perform an antibody test in conjunction with an antigen test—and certainly not both an antigen

17    test and a PCR test.

18            47. Despite the foregoing, GS Labs routinely administers each type of test to each

19    patient whenever possible—so long as that patient has commercial insurance. GS Labs

20    administers these medically inappropriate tests solely to increase the amount it may bill to

21    insurers.

22

23    19
         Notably, because GS Labs does not have testing facilities in Washington capable of
      performing PCR tests, it is incapable of providing PCR test results to Washington residents
24    without delays lasting at least several days.
      20
         FDA, A Closer Look at Coronavirus Disease 2019 (COVID-19) Diagnostic Testing (Feb.
25    2021), https://tinyurl.com/fspy33bu.
      21
         CDC, Interim Guidelines for COVID-19 Antibody Testing (Mar. 17, 2021),
26    https://tinyurl.com/3vx4wwfa.
      22
         Premera Blue Cross, BENEFIT COVERAGE GUIDELINE – 2.04.518 SARS-CoV-2 Serology
27    (Antibody) Testing (Mar. 2, 2021), https://tinyurl.com/2y8sxmhj.
     COMPLAINT – 11                                                  KILPATRICK TOWNSEND & STOCKTON LLP
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 1          48. GS Labs treats insured and uninsured patients very differently. Notably, it accepts

 2   only commercial insurance or cash payment. It does not accept Medicare, which covers much

 3   of the elderly population most vulnerable to COVID-19, or Medicaid, which covers financially

 4   distressed individuals who may have difficulty paying for COVID-19 testing out-of-pocket.

 5          49. In order to book an appointment, GS Labs requires insured patients to consent to

 6   receive a “Rapid Antibody test,” “Rapid Antigen test,” and a “COVID-19 PCR and respiratory

 7   panel test.” This is so regardless of why the patient seeks COVID-19 testing. Insured patients

 8   cannot select a specific test in advance.

 9          50. Because GS Labs buries this information in a “clickwrap” agreement, patients often

10   are not aware that they have agreed to this unusual term. For example, in a complaint to the

11   Washington State Attorney General’s Office, one consumer stated:

12          I thought I had Covid and went to GS Labs in Federal Way on Sunday after

13          finding them online for a rapid Covid test. They were the only ones open

14          Sunday. Upon arrival I was never asked if I wanted an antibody test, or a PCR

15          test, yet after my visit was complete I got emails that they were running those

16          tests. I am contesting having to pay for those. It was not made clear to me I

17          would get those or be charged for those.

18          51. In contrast, cash-pay patients must select a specific test to book an appointment.

19   This serves as a tacit acknowledgement by GS Labs that performing multiple tests on insured

20   patients is not medically necessary.

21          52. GS Labs’ policies require nurses to at least attempt to administer all three tests to

22   every insured patient. According to interviews with ex-GS Labs personnel, nurses are generally

23   expected to administer all three tests to every patient, and must explain tests that are “missing”

24   (i.e., not performed on a given patient). GS Labs tracks the number of tests performed by each

25   of its nurses, praising those who succeed in administering multiple tests to patients, while

26   punishing those who do not—including by terminating their employment.

27
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 1           53. As a result, GS Labs’ nurses aggressively push multiple tests on patients, and

 2   regularly provide false and misleading information about the tests. For example, Premera is

 3   aware of instances in which GS Labs’ nurses have falsely told patients that rapid antibody

 4   testing can detect active COVID-19 infection, can determine whether a patient has developed

 5   immunity to COVID-19, and that insurance covers antibody testing in every instance. Nurses

 6   also tell patients (falsely) that it is standard medical practice to administer all three types of

 7   tests together.

 8           54. Premera’s interviews are corroborated by public statements by other ex-employees,

 9   such as the following:

10           [GS Labs] manipulates people into thinking they need all three Covid tests

11           (antibody, antigen, and PCR). The nurses were told to go to the cars and

12           immediately start doing the antibody test (finger stick) to distract the patient.

13           Nurses were being let go if they didn't persuade enough people to get all three

14           tests. Management would follow the nurses to make sure they were getting

15           patients to do all three tests (even if they weren’t needed). Patients are being lied

16           to just so this company can make a profit.

17           55. Another former employee lodged the following complaint with a state regulator,

18   raising similar concerns:

19           Starting the week of 1/11/21 we were told we needed to get every person to take

20           the antibody test as insurance will pay for both. I inquired about what the

21           “runners”/check-in people were saying after being yelled at by multiple cars for

22           confirming they were having both tests done when they did not want that. . . .

23           On 1/18/21 the lead RN, Paula Berg, shadowed me after telling me my numbers

24           were the lowest. She told me the other new lead RN informs people the antibody

25           test confirms the antigen test . . . . She observed me sell and educate patients on

26           the extra test and the following day fired me for not selling enough tests. She

27           claims this came from HQ in Omaha. . . . I hope you can work to revoke the
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 1            business licenses for their locations upon finding the negligence and fraudulent

 2            insurance billing/unethical practices of telling patients the antibody test has

 3            actual clinical value for diagnostics (and even if they are contagious- which is

 4            erroneous as IgM antibodies can last a month after exposure) or not even tell

 5            patients why they are getting the test done.

 6            56. In order not to receive all three tests, patients must affirmatively refuse to undergo

 7    the additional, unnecessary testing, contrary to the urging of GS Labs’ nurses.

 8            57. Similarly, GS Labs regularly performs and bills insurers for expensive and

 9    unnecessary Bio-Fire and GenMark respiratory panel tests, which detect numerous pathogens

10    unrelated to COVID-19, without informing patients. Again, GS Labs does so solely to pad its

11    claims to insurers. There is no medical reason to regularly perform large panel tests on patients

12    who seek only COVID-19 testing. Indeed, the federal government has prosecuted this practice

13    as health care fraud. 23

14            58. GS Labs’ nurses do not individually assess patients before urging them to submit to

15    multiple tests. In fact, GS Labs instructs its nurses not to ask questions of patients. At no point

16    does any medical professional associated with GS Labs evaluate the medical needs of a patient

17    before recommending or performing tests.

18            59. Instead, GS Labs relies solely on intake paperwork for insured patients that requires

19    patients to check a box stating, “I acknowledge that I am seeking a diagnostic test.”

20            60. This box appears near a disclaimer that reads: “GS Labs only accepts insurance

21    patients who are seeking testing for diagnostic purposes. Patients must be experiencing Covid-

22    19 symptoms or have had a potential exposure to Covid-19 to qualify for a medically necessary

23    diagnostic test.” GS Labs requires no similar certification for cash-pay patients.

24

25

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      23
        See Indictment, United States v. Malena Badon Lepetich, Case No. 3:21-cr-00032 (May 20,
27    2021).
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 1            61. GS Labs treats this deliberately vague and confusing certification as an affirmation

 2    that every insured patient has had possible COVID-19 exposure or symptoms. Given the high

 3    volumes of insured patients GS Labs serves, GS Labs knows that this is not the case.

 4            62. Indeed, despite this certification, GS Labs still accepts patients who indicate

 5    elsewhere in their intake paperwork that they have not had potential COVID-19 exposure or

 6    experienced COVID-19 symptoms. Similarly, even when insured patients have specifically

 7    informed GS Labs nurses that they had neither potential COVID-19 exposure nor symptoms,

 8    GS Labs’ nurses not only proceeded with testing, but also continued to urge the patient to

 9    undergo multiple tests.

10            63. Moreover, Premera understands from interviews with ex-employees that GS Labs

11    has performed a significant amount of screen testing for workplace safety. GS Labs personnel

12    were aware that the patients at issue sought testing for that purpose. This sort of screen testing

13    is not diagnostic in nature, not subject to the CARES Act, and not covered by Premera’s

14    policies. 24

15            64. GS Labs performs all of its testing nationwide under the auspices of standing orders

16    issued by Steve W. Powell, M.D., a psychiatrist based in Franklyn, NH. Dr. Powell plays no

17    role in assessing patients or directing their treatment.

18            65. These standing orders authorize GS Labs to perform each of the various tests it

19    offers only where patients meet certain criteria. Among other things, the standing orders require

20    that, for each test, patients meet minimum criteria related to COVID-19 exposure or symptoms.

21    They authorize large-panel tests like the Bio-Fire and GenMark respiratory panel tests only for

22    relatively rare patients who fall into a “High Risk Group.”

23            66. The standing orders further include specific procedures that GS Labs must follow

24    for testing. They require GS Labs’ nurses to verify that patients meet the criteria for testing, and

25    obtain verbal agreement (in additional to written consent) for each test administered.

26

27    24
       CMS, FAQs About Families First Coronavirus . . ., supra.
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 1              67. GS Labs does not inform its nurses of the contents of these standing orders or train

 2   its nurses to follow them. GS Labs and its nurses do not adhere to the criteria or procedures set

 3   out in the standing orders, and instead administer as many tests as possible to every insured

 4   patient.

 5              68. Premera does not reimburse providers for medically unnecessary and inappropriate

 6   testing, or COVID-19 testing performed for non-diagnostic purposes, such as that discussed

 7   above. Nor does Premera reimburse providers for medically unauthorized testing, such as that

 8   discussed above.

 9                           Endemic Quality Problems with GS Labs’ Testing

10              69. GS Labs has repeatedly failed to control the quality of its testing and reporting of

11   results. Public records disclose instances in which GS Labs has misreported results, failed to

12   timely report results, and failed to report results altogether.

13              70. GS Labs’ rate of error is significantly greater than other labs that perform the same

14   tests for a fraction of the price.

15              71. In one case, GS Labs failed to timely report the results of nearly 200 COVID-19

16   tests. This led at least one individual who ultimately tested positive to “walk[ ] around with

17   COVID for a week,” potentially spreading the virus. 25

18              72. In March of 2021, the Nebraska Department of Health and Human Services

19   informed GS Labs that its facilities failed to meet the standards necessary to perform clinical

20   testing under the Clinical Laboratory Improvement Amendments of 1988 (CLIA), and ordered

21   GS Labs to take remedial measures.

22              73. As particularly relevant here, GS Labs sent correspondence to certain of Premera’s

23   members—but not to Premera—notifying them that GS Labs had identified a lapse in its

24   “quality control process” for certain of its PCR testing lasting from “3/17/21 [to] 4/9/21.” This

25   caused it to “deviate[ ] from applicable laboratory standards for testing facilities” during that

26   25
      Lauren Melendez, KCTV5, “I walked around with COVID for a week, because of late
    results.” GS Labs, subcontractor issue delays COVID info (Dec. 19, 2020),
27 https://tinyurl.com/45j9nwsv.
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 1   period of several weeks. GS Labs stated that this lapse in quality control “may have impacted

 2   [patients’] test results.”

 3           74. GS Labs did not inform Premera of this lapse, despite having submitted claims for

 4   potentially faulty and inaccurate PCR testing to Premera totaling nearly $400,000.

 5           75. Premera does not reimburse providers for testing that fails to meet applicable

 6   standards for quality and reliability.

 7                        GS Labs’ False “Cash Prices” for COVID-19 Testing

 8           76. Despite the above problems with its testing procedures and quality, GS Labs

 9   charges insurers exorbitant rates for COVID-19 testing ranging from $380 to $979.

10           77. These prices are significantly out of step with those CMS has deemed

11   “reasonable”—i.e., prices “generally consistent with reimbursement rates set by the Medicare

12   program.” 26 As demonstrated by the following chart, the prices GS Labs charges insurers for

13   COVID-19 testing well exceed the reimbursement rates set by Medicare Administrative

14   Contractors, and in some cases are nearly ten times Medicare rates.

15
                                  Test        GS Labs’ Posted     Medicare Rate
16
                                                   Rate
17
                        Rapid Antibody             $380               $45.23
18
                        Rapid Antigen              $380               $41.38
19

20                      COVID-19 PCR               $385               $51.41

21                      GenMark / BIO-             $979              $416.78

22                      Fire PCR / RPP

23

24           78. These prices are far higher than those charged by other labs, and bear little

25   relationship to the cost of performing such tests (which can be as little as $20 wholesale for

26   26
      HHS, FAQs About Families First Coronavirus Response Act and Coronavirus Aid, Relief,
    and Economic Security Act Implementation Part 44 (Feb. 26, 2021),
27 https://tinyurl.com/n74pbah5.
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 1   antigen testing). Accordingly, GS Labs’ rates have led to at least one investigation for price

 2   gouging by the Kansas Department of Insurance. 27

 3          79. Moreover, these prices bear little relationship to the value of GS Labs’ testing,

 4   particularly in light of the problems with its testing procedures and quality discussed above.

 5   Instead, to the extent GS Labs has attempted to justify its prices, it has claimed to have higher

 6   marginal costs than other laboratories, which it insists should be borne by insurers and patients.

 7          80. Under normal circumstances, GS Labs would have no expectation that any insurer

 8   would pay its extraordinarily high prices. But GS Labs contends that the COVID-19 pandemic,

 9   and the CARES Act, give it a right to force insurers to pay whatever it asks.

10          81. GS Labs has posted the above prices to its website, contending that they are its

11   “cash prices” for purposes of the CARES Act. On that basis, GS Labs demands that insurers—

12   including Premera—pay these prices in full.

13          82. But the prices posted to GS Labs’ website are not its “cash prices” as that term is

14   defined under the CARES Act. As discussed above, “cash price” under the CARES Act means

15   “the charge that applies to an individual who pays cash (or cash equivalent) for a COVID-19

16   diagnostic test.” 28 It is “generally analogous to the ‘discounted cash price’ . . . for purposes of

17   the Hospital Price Transparency final rule,” which accounts for “discounts” providers offer “off

18   their gross charges or . . . other concessions to individuals who pay for their own care.” 29

19          83. For individuals paying out-of-pocket, GS Labs charges rates that are less than a

20   third of what it claims to be its “cash prices.” It does so by offering every cash-pay patient a

21   70% “discount” off its purported “cash prices.”

22          84. When booking a testing appointment through GS Labs’ website, there are two

23   options: “Bill My Insurance” and “Out-of-Pocket.” 30 The “Out-of-Pocket” option directs

24
     27
       Kyle Palmer, Shawnee Mission Post, Lenexa lab flagged for potential price gouging of
25  COVID-19 tests — what consumers need to know (Dec. 21, 2020),
    https://tinyurl.com/2ea4vx3y.
26 28 85 FR at 71204.
    29
       Id. at 71152.
27 30 E.g., https://gslabstesting.com/covid-rapid-testing-bloomington/.
   COMPLAINT – 18                                                 KILPATRICK TOWNSEND & STOCKTON LLP
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 1   patients to “Complete the form below to qualify for up to a 70% discount on the Out-Of-Pocket

 2   costs.” The following is that form:

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16          85. As reflected above, the form includes radio buttons allowing the user to select “I do

17   not currently have insurance,” “I do not currently have insurance with out-of-network benefits,”

18   “I am not currently covered by Medicaid or a Medicaid HMO Plan,” and “My monthly income

19   is below $2,000/mo. per dependent.”

20          86. These options are such that anybody may truthfully select one. Given that insurers

21   must cover COVID-19 testing without cost to patients, most self-pay patients are uninsured and

22   may truthfully select “I do not currently have insurance.” But anyone not covered by Medicaid,

23   including individuals who are enrolled in commercial health insurance or Medicare, can

24   truthfully select “I am not currently covered by Medicaid or a Medicaid HMO Plan.” And

25   anyone who qualifies for Medicaid, at least in Washington, may truthfully select “My monthly

26   income is below $2,000/mo. per dependent.”

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 1          87. If the user selects any option except “none of the above,” and without providing any

 2   additional information or verification, he or she receives the following message:

 3

 4

 5

 6

 7

 8
 9

10          88. Inputting that code while entering payment information reduces the price of testing

11   to less than one third of GS Labs’ posted “cash price,” as demonstrated below.

12

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25          89. Any self-pay patient can easily pay the discounted rate. The foregoing is consistent

26   with Premera’s own investigation, which indicates that GS Labs systematically charges cash-

27   pay patients significantly less than the rates posted to its website as its “cash prices.”
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 1          90. Indeed, in response to a consumer complaint of price gouging, GS Labs has

 2   represented to the Washington State Attorney General’s Office that “the ‘cash prices’ listed on

 3   GS Labs’ website generally are charged only to insurance companies, and not consumers,” and

 4   that GS Labs’ purported “‘cash prices’ apply to insurance companies only.” GS Labs further

 5   stated unequivocally: “GS Labs has never charged a consumer for the ‘cash price’ of a COVID-

 6   19 test, even if they have no health insurance.”

 7          91. Notably, even these fractional cash prices are still significantly higher than what

 8   other labs charge and what CMS has deemed reasonable rates.

 9          92. Because GS Labs charges all or virtually all cash-pay patients less than one third of

10   its claimed “cash price,” GS Labs has failed to post its “cash price,” as that term is defined

11   under the CARES Act. It has instead posted prices that are significantly higher, without

12   disclosing its true “cash prices” on its website in a manner consistent with federal law.

13          93. In addition to the above, federal regulations implementing the CARES Act make

14   clear that in posting its “cash price,” GS Labs must include “[a]ny additional information as

15   may be necessary for the public to have certainty of the cash price that applies to each COVID-

16   19 diagnostic test.” 31 As explained by CMS, “if the provider offers the same test at a different

17   cash price that is dependent on location or some other factor, then on its website listing of cash

18   prices, the provider must indicate all the cash prices that apply to the test and relevant

19   distinguishing information as to when each different cash price applies.” 32

20          94. GS Labs’ “COVID-19 Pricing Transparency” page omits any reference to the fact

21   the posted test prices are more than three times higher than the rates charged to cash-pay

22   patients. 33 This independently violates GS Labs’ obligations under the CARES Act.

23          95. Finally, COVID-19 test pricing must be available “[w]ithout having to submit

24   personal identifiable information,” 34 yet GS Labs requires patients to fill out a form with their

25
     31
     85 FR at 71204.
26   32
     Id. at 71153.
     33
     See https://gslabstesting.com/covid-19-pricing-transparency/.
27   34
     85 FR at 71204.
   COMPLAINT – 21                                               KILPATRICK TOWNSEND & STOCKTON LLP
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 1   personal information before confirming (invariably) that the patient qualifies for a 70%

 2   discount. This too violates the CARES Act.

 3           96. Because GS Labs stands in violation of the CARES Act’s requirement that it “make

 4   public [its] cash price,” and has not posted its cash price on its website consistent with federal

 5   law, it has no established “cash price . . . listed . . . on a public internet website” for purposes of

 6   the CARES Act.

 7           97. Indeed, GS Labs has attempted to deceive Premera and other insurers by obscuring

 8   its true cash price and demanding payment at rates three times as great. It has used the CARES

 9   Act as a cudgel to threaten and intimidate insurers, knowing all along that it has failed to

10   comply with the Act’s letter and spirit.

11             GS Labs’ Submission of Claims to Premera and Demands for Payment

12           98. Since February of 2021, GS Labs has submitted more than 80,000 claims to

13   Premera for COVID-19 testing, with outstanding billed charges well in excess of $26 million.

14           99. Premera instituted a pre-payment review process requiring GS Labs to submit

15   records related to its claims. GS Labs has largely refused to provide these records, resulting in

16   the denial of most of its claims.

17           100. Many of these claims on their face include tests that appear to be unnecessary,

18   faulty, and not covered by Premera’s policies. Among other things:

19                   a. Many (indeed, most) of the claims reflect multiple tests in medically

20                       inappropriate combinations as a result of GS Labs’ policy of pressuring

21                       patients to submit to unnecessary testing. In particular, more than 11,000

22                       claims include all three types of testing GS Labs offers. Similarly, more than

23                       26,000 claims reflect both antigen and antibody testing.

24                   b. Numerous other claims reflect antibody testing standing alone. Given GS

25                       Labs’ testing practices and the very narrow circumstances under which

26                       antibody testing serves a medically recognized diagnostic purpose, it is

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 1                       virtually impossible that all (or even a substantial portion) of these tests are

 2                       covered under Premera’s policies.

 3                   c. Many thousands of the claims pertain to expensive large-panel tests, which

 4                       (to a virtual certainty) were not medically justified. GS Labs submitted more

 5                       than 3,800 claims for large-panel testing standing alone, as well as many

 6                       others in combination with other tests, as discussed above.

 7                   d. 403 claims for PCR testing were, by GS Labs’ own admission, tainted by a

 8                       “deviat[ion] from applicable laboratory standards for testing facilities” that

 9                       “may have impacted [patients’] test results.” GS Labs demands $394,537 for

10                       these faulty tests.

11           101. In addition to the above, the claims include information that appears virtually

12   certain to be false or incorrect.

13                   a. Nearly all of the claims (over 99%) include Current Procedural Terminology

14                       (CPT) codes indicating that the patient had exposure to COVID-19. Given

15                       the volume of testing, as well as the findings of Premera’s own investigation,

16                       it is almost certainly not true that over 99% of the patients at issue had

17                       COVID-19 exposure.

18                   b. Many claims include other extraordinarily unlikely diagnosis codes used to

19                       support expensive testing. For example, roughly 1,000 claims list a CPT

20                       code indicating a diagnosis of acute respiratory distress syndrome—a serious

21                       (and often deadly) condition in which fluid builds up in the alveoli of the

22                       lungs, restricting oxygen flow to the bloodstream. It generally develops only

23                       in individuals who are already critically ill or seriously injured. GS Labs’

24                       facilities lack the equipment necessary to diagnose this condition.

25                   c. All or virtually all of the claims include errors with respect to the listed

26                       National Provider Identifier (NPI), CLIA number, and/or Place of Service

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 1                      CPT code, obscuring the location and licensure of the laboratory that

 2                      actually performed the testing.

 3          102. As discussed above, GS Labs largely refused to comply with the pre-payment

 4   review process, but did ultimately agree to provide a small sample of medical records for some

 5   claims. To the limited extent GS Labs has provided medical records as part of the pre-payment

 6   review process, these have confirmed Premera’s suspicions and raised additional concerns. The

 7   following are just some representative examples, which Premera has anonymized to protect

 8   patient privacy:

 9                  a. Patients 1 and 2 both received a rapid antigen test, a rapid antibody test, and

10                      a large-panel PCR test on March 15 and 17, 2021, respectively. In both

11                      cases, GS Labs billed Premera $1,789 for the three tests. The claims GS

12                      Labs submitted to Premera represented that the patients had exposure to

13                      COVID-19. But medical records reflect that the patients indicated they had

14                      neither exposure to nor symptoms of COVID-19. These claims were not

15                      payable because (1) the tests were medically inappropriate and unjustified;

16                      (2) the standing order upon which GS Labs relied did not authorize the tests;

17                      and (3) the claim GS Labs submitted included a material falsehood.

18                  b. Patient 3 received a rapid antigen test, a rapid antibody test, and a small-

19                      panel PCR test on March 20, 2021. GS Labs billed Premera $1,195 for the

20                      three tests. The claim GS Labs submitted to Premera represented that the

21                      patient had exposure to COVID-19. But medical records reflect that the

22                      patient indicated they had neither exposure to nor symptoms of COVID-19.

23                      This claim was not payable because (1) the tests were medically

24                      inappropriate and unjustified; (2) the standing order upon which GS Labs

25                      relied did not authorize the tests; and (3) the claim GS Labs submitted

26                      included a material falsehood.

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 1              c. GS Labs submitted claims to Premera stating that Patients 4 and 5 received

 2                    both a rapid antigen test and a confirmatory PCR test on January 13 and 14,

 3                    2021, respectively. GS labs billed Premera $815 per patient. But medical

 4                    records reflect that Patients 4 and 5 did not receive PCR tests. Instead, they

 5                    received rapid antibody tests. The tests GS Labs actually performed were

 6                    both cheaper than the tests for which it billed Premera, and (as confirmed by

 7                    medical records) medically unnecessary and not covered by Premera’s

 8                    policies. These claims were not payable because (1) the tests were medically

 9                    inappropriate and unjustified; (2) the claim GS Labs submitted included a

10                    material falsehood; and (3) GS Labs did not actually perform the tests for

11                    which it billed.

12              d. Patients 6 received a rapid antigen test, a rapid antibody test, and a large-

13                    panel PCR test on March 26, 2021. GS Labs submitted claims to Premera

14                    totaling $1,789 for all three tests. It represented that the patient not only had

15                    suspected exposure to COVID, but acute respiratory distress syndrome.

16                    Medical records failed to support the latter diagnosis, or to show that an

17                    antibody test served a valid diagnostic purpose. Moreover, the patient’s PCR

18                    test results were tainted and rendered unreliable by a lapse in GS Labs’

19                    quality assurance procedures for its laboratory, but GS Labs never notified

20                    Premera of that fact or withdrew the claim at issue. This claim was not

21                    payable because (1) the tests were medically inappropriate and unjustified;

22                    (2) the claim GS Labs submitted included a material falsehood; and (3) the

23                    test results were tainted and made unreliable by a lapse in quality assurance

24                    standards.

25              e. Patients 7 received a rapid antigen test, a rapid antibody test, and a large-

26                    panel PCR test on March 26, 2021. GS Labs submitted a claim to Premera

27                    for $1,789 for all three tests. It represented that the patient not only had
     COMPLAINT – 25                                                KILPATRICK TOWNSEND & STOCKTON LLP
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 1                      suspected exposure to COVID, but acute respiratory distress syndrome.

 2                      Medical records failed to support either diagnosis (although the patient did

 3                      indicate that they had some symptoms). The medical records further failed to

 4                      substantiate that the antibody test served a valid diagnostic function. This

 5                      claim was not payable because (1) the tests were medically inappropriate

 6                      and unjustified; and (2) the claim GS Labs submitted included a material

 7                      falsehood.

 8                  f. GS Labs submitted a claim for Patient 8 representing that, on January 22,

 9                      2021, Patient 8 received two rapid antigen tests, a rapid antibody test, and a

10                      large panel PCR test. For these tests, GS Labs billed Premera $2,219.

11                      Medical records Premera received from GS Labs indicate that, in reality,

12                      Patient 8 received only a rapid antigen test and a rapid antibody test. This

13                      claim was not payable because (1) the tests were medically inappropriate

14                      and unjustified; (2) the claim GS Labs submitted included a material

15                      falsehood; and (3) GS Labs did not actually perform the tests billed.

16          103. The medical records Premera received also demonstrated further deficiencies with

17   respect to each of the foregoing claims. Each of the above included at least one (and usually

18   more) of the following additional defects: (1) incorrect CLIA number; (2) incorrect NPI;

19   (3) incorrect place-of-service; and (4) incorrect date-of-service. Based on Premera’s review, out

20   of the many thousands of claims GS Labs submitted to Premera, there are virtually no “clean”

21   claims—i.e., claims free of material error.

22          104. The foregoing are just a few representative examples from Premera’s review of

23   medical records. Few (if any) of the claims GS Labs submitted appear to be totally accurate as

24   compared to the medical records GS Labs produced. The foregoing examples are also

25   consistent with Premera’s investigation regarding GS Labs’ testing policies.

26

27
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 1           105. Based on Premera’s findings with respect to the foregoing claims, as well as its

 2    findings discussed in paragraphs 100-02, supra, most (if not all) of the more than 80,000 claims

 3    GS Labs submitted to Premera are not payable in whole or in part.

 4           106. Based on the foregoing, and on information and belief, most (if not all) of the

 5    claims GS Labs has submitted to Premera pertain to testing that was (1) medically unnecessary

 6    or inappropriate; (2) unauthorized by a physician’s order; and/or (3) faulty and unreliable. Such

 7    claims are not payable under Premera’s policies. Moreover, in a significant number of cases,

 8    GS Labs did not actually perform the testing for which it billed Premera at all. GS Labs

 9    presently has exclusive possession of the records that would enable Premera to determine

10    conclusively the full universe of such claims.

11           107. Similarly, based on the foregoing, and on information and belief, most (if not all)

12    of GS Labs’ claims are not payable because they include material falsehoods and inaccuracies.

13    Again, GS Labs presently has exclusive possession of the records that would enable Premera to

14    determine conclusively the full universe of such claims.

15           108. Notably, Gabriel Sullivan, one of GS Labs’ members, faces a lawsuit brought by a

16    former employer alleging similar misconduct. The complaint in that case states that Sullivan

17    was “responsible for patient services and billing,” and “failed to implement policies and

18    procedures that . . . w[ere] in compliance with the contractual requirements and billing policies

19    of insurance companies.” Instead, Sullivan “intentionally implemented [billing] procedures that

20    he knew were not compliant with insurance company requirements,” leading an insurer to

21    assess an overpayment “in excess of $1.9 million.” It further cites an email that Sullivan

22    allegedly sent stating his intent to “beat [insurers] at their own game and out smart [sic] them”

23    with billing practices that “do[n’t] follow their personal guidelines.” 35

24           109. GS Labs regularly submits false and deceptive claims to other insurers as well,

25    including other insurers in Washington.

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      35
       Complaint ¶¶ 38-40, LMMC, LLC, et al. v. Sullivan, et al., Case No. 8:19-cv-00560 (D. Neb.
27    Dec. 23, 2019).
     COMPLAINT – 27                                                KILPATRICK TOWNSEND & STOCKTON LLP
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 1              110. GS Labs submitted all of the claims at issue demanding payment at its false and

 2   exorbitant “cash prices,” discussed above. To the extent the claims are payable at all, they are

 3   not payable at these inflated rates. These rates are not required by the CARES Act nor by any

 4   other source of law. Premera did not agree to pay these rates (whether explicitly or impliedly),

 5   and these rates far exceed the fair market value of GS Labs’ work.

 6              111. Premera paid roughly $10,000 on some of the claims GS Labs submitted from

 7   plans it fully insures or administers on behalf of ASO plans. Premera did not owe and should

 8   not have paid some (or all) of that amount due to the foregoing misconduct.

 9              112. GS Labs contends that it is entitled to payment of well over $26 million on the

10   remaining claims that it has submitted to Premera. But as discussed above, many of these

11   claims are not payable at all, and to the extent they are, GS Labs is not entitled to payment at

12   the exorbitant rates it demands.

13              113. GS Labs has threatened Premera with litigation, and to report Premera to federal

14   authorities for CARES Act violations, if Premera will not meet its terms. And GS Labs

15   continues to submit inaccurate claims to Premera for medically inappropriate and unauthorized

16   testing.

17
                                          CLAIMS FOR RELIEF
18
19   COUNT I: VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT,
                               RCW 19.86, et seq.
20
                114. Premera hereby incorporates the foregoing paragraphs as if fully set forth herein
21
     and further alleges as follows.
22
                115. The Washington Consumer Protection Act (“CPA”) prohibits “unfair or deceptive
23
     acts or practices in the conduct of any trade or commerce.” RCW 19.86.020.
24
                116. GS Labs engaged in a variety of “unfair” practices within the meaning of the CPA
25
     in conducting its business in Washington. These include:
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27
     COMPLAINT – 28                                                  KILPATRICK TOWNSEND & STOCKTON LLP
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 1               a. Routinely performing medically unnecessary and unwarranted testing on

 2                  patients in order to obtain higher payments from insurers;

 3               b. Routinely pressuring patients to undergo unnecessary and unwarranted testing,

 4                  without regard to individual need, to obtain higher payments from insurers;

 5               c. Routinely failing to obtain informed consent from patients prior to performing

 6                  tests in order to obtain higher payments from insurers;

 7               d. Routinely performing testing on patients without a physician’s authorization in

 8                  order to obtain higher payments from insurers; and

 9               e. Price gouging and exploiting the extraordinary circumstances of the COVID-19

10                  pandemic to charge far more than the fair market value of the testing performed.

11           117. The foregoing practices offend established public policy and harm the public

12   interest.

13           118. For example, medical ethics and legal principles require providers of medical

14   services to follow established standards of care and to obtain informed consent from patients

15   prior to performing a medical procedure. 36 Informed consent requires not only that the patient

16   receive complete and accurate information, but that the provider not render the circumstances

17   of consent unduly coercive. 37 The testing practices described above offend the bedrock

18   principles that govern the provision of medical care in Washington.

19           119. Moreover, the Washington Attorney General’s office has explained that “[p]rice

20   gouging during an emergency,” including the COVID-19 pandemic, “violates the Consumer

21   Protection Act’s prohibition on unfair business practices.” 38 There is currently a bill pending in

22   the Washington Senate that (once passed) will expressly prohibit charging an “excessive price”

23

24   36
      See Lisa V. Brock & Anna Mastroianni, University of Washington Dept. of Bioethics &
    Humanities, Clinical Ethics and Law (last visited Aug. 27, 2021), https://tinyurl.com/2c4tt885.
25 37 Jessica De Bord, University of Washington Dept. of Bioethics & Humanities, Informed
    Consent (last visited Aug. 27, 2021), https://tinyurl.com/b86jd6rt.
26 38 Washington Attorney General's Office, AG Ferguson launches “See It, Snap It, Send It”
    campaign encouraging Washingtonians to report price gouging (Apr. 7, 2020),
27 https://tinyurl.com/2wc5c76t.
   COMPLAINT – 29                                                  KILPATRICK TOWNSEND & STOCKTON LLP
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 1    for “health care services.” 39 Many, if not most, states already have legislation in place

 2    forbidding price gouging in this context, and GS Labs is under investigation in at least one such

 3    state due to its excessive prices. The foregoing reflects the strong public policy in Washington

 4    against price gouging for COVID-19 testing during the pandemic.

 5            120. As described above, GS Labs also engaged in a variety of “deceptive” practices

 6    within the meaning of the CPA in conducting its business in Washington. These include:

 7                a. Misleading patients as to the medical necessity and propriety of performing

 8                    multiple COVID-19 tests, thus inducing them to undergo unnecessary and

 9                    expensive testing, in order to obtain higher payments from insurers;

10                b. Misleading patients as to the capabilities of rapid antibody testing, thus inducing

11                    them to undergo unnecessary and expensive testing, and creating the risk that

12                    some patients may falsely believe themselves to be immune to COVID-19, in

13                    order to obtain higher payments from insurers;

14                c. Misleading patients as to the circumstances under which rapid antibody testing

15                    is covered by insurance, in order to obtain higher payments from insurers;

16                d. Posting false and deceptive “cash prices” in an effort to mislead the public,

17                    including insurers like Premera, as to the “cash prices” it charges for COVID-19

18                    testing, in order to obtain higher payments from insurers; and

19                e. Systematically submitting false and misleading claims to health insurers in the

20                    state of Washington that misrepresent patient diagnoses, the medical necessity

21                    of the testing performed, and in some cases, the tests actually performed, among

22                    other inaccuracies.

23            121. The foregoing practices were, and remain, likely to mislead reasonable consumers,

24    and did in fact deceive the public. These practices had the capacity to mislead, and did in fact

25    deceive, not only patients seeking COVID-19 testing, but also insurers throughout Washington

26    and in other states.

27    39
       Washington Senate Bill 5191, available at https://tinyurl.com/ssacju8.
     COMPLAINT – 30                                                KILPATRICK TOWNSEND & STOCKTON LLP
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 1           122. GS Labs engaged in the foregoing practices in the course of trade or commerce in

 2    Washington, and in particular, in the provision of COVID-19 testing services.

 3           123. GS Labs’ misconduct affects the public interest. GS Labs subjected many

 4   Washington residents to expensive, medically inappropriate, unnecessary, and unauthorized

 5   testing without informed consent. GS Labs further misled many members of the public as to the

 6   purpose and capability of the tests administered—in particular, the diagnostic value of rapid

 7    antibody testing. As discussed above, this is inconsistent with the ethical and legal principles

 8    that govern the provision of medical care in Washington.

 9           124. GS Labs’ submission of false and misleading insurance claims further affects the

10   public interest. The Washington state legislature has “f[ound] and declare[d] that the welfare of

11   the citizens of this state is threatened by the spiraling increases in the cost of health care,” and

12   “that fraudulent health care claims contribute to these increases in health costs [such that] . . .

13   special attention must be directed at eliminating the unjustifiable costs of fraudulent health care

14   claims.” It is thus illegal to submit a claim that (1) “falsely represents that the goods or services

15   were medically necessary in accordance with professionally accepted standards”; (2)

16   “knowingly make[s] a false statement or false representation of a material fact”; or (3)

17    “conceal[s] or fail[s] to disclose any information with intent to obtain a health care payment to

18   which the person or any other person is not entitled, or to obtain a health care payment in an

19   amount greater than that which the person or any other person is entitled.” 40

20           125. Finally, GS Labs’ maintenance of false “cash prices” on its website affects the

21    public interest. CMS has explained that the requirement that providers maintain accurate cash

22    prices on their website is necessary to ensure transparency for “the public, including group

23    health plans and health insurance issuers offering group or individual health insurance coverage

24    that must provide reimbursement for COVID-19 diagnostic testing pursuant to the requirements

25    of section 3202(a) of the CARES Act.” 41

26
      40
       See RCW 48.80.010, et seq.
27    41
       85 FR at 71153.
     COMPLAINT – 31                                                   KILPATRICK TOWNSEND & STOCKTON LLP
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 1           126. The conduct described above has a real and substantial potential for repetition—

 2   GS Labs has consistently engaged in the conduct described above throughout the period it has

 3   operated in Washington, and continues to engage in the above conduct today.

 4           127. GS Labs engaged in the above misconduct in the regular course of its business. GS

 5   Labs further advertises to the public, and has actively solicited both patronage by patients and

 6   payments by insurers like Premera. GS Labs has unequal bargaining power by virtue of the

 7   exigent circumstances created by the COVID-19 pandemic.

 8           128. GS Labs’ unfair or deceptive acts and practices injured Premera. Premera has paid

 9   roughly $10,000 on claims GS Labs submitted from plans it fully insures or administers on

10   behalf of ASO plans. Premera did not owe and should not have paid some (or all) of that

11   amount due to the foregoing misconduct. Moreover, GS Labs’ has forced Premera to expend

12   significant resources on investigating and addressing the misconduct detailed above, as well as

13   in addressing GS Labs’ demands for exorbitant payments.

14           129. GS Labs’ unfair and deceptive acts and practices directly and proximately caused

15   Premera’s injuries. GS Labs caused these injuries by, among other things, (1) causing patients

16   to undergo medically unnecessary, inappropriate, and unauthorized testing; (2) submitting false

17   and misleading insurance claims to Premera related to that testing; and (3) demanding payment

18   from Premera at false and exorbitant “cash prices,” while concealing its true “cash prices.”

19           130. By virtue of the foregoing, Premera is entitled to its damages, an injunction

20   prohibiting GS Labs from continuing to engage in the unlawful and inequitable practices

21   described above and enjoining it from seeking payment from Premera’s members, and its

22   attorneys’ fees and costs. 42

23                    COUNT II: ERISA § 502(a)(3) & 28 U.S.C. §§ 2201 & 2202

24           131. Premera acts as claims administrator and has been delegated the authority to

25   pursue recovery of payments made by Premera on behalf of certain self-funded plans covered

26   by ERISA. Premera has standing to sue under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), for

27   42
       RCW 19.86.090.
     COMPLAINT – 32                                                 KILPATRICK TOWNSEND & STOCKTON LLP
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 1   declaratory and injunctive relief to enjoin any acts or practices that violate the provisions of the

 2   plans and to obtain other appropriate relief to redress violations of and enforce plan terms.

 3          132. The ASO plans at issue in this litigation covered by ERISA include the following

 4   or substantially similar language: “If Premera makes a payment in error on your behalf to you

 5   or a provider, and you are not eligible for all or a part of that payment, Premera has the right to

 6   recover payment, including deducting the amount paid mistake from future benefits.”

 7          133. Premera will provide additional information regarding the specific plans and

 8   claims at issue in this litigation following the entry of a HIPAA qualified protective order.

 9          134. GS Labs has systematically submitted false and misleading insurance claims to

10   Premera’s ERISA plans seeking reimbursement for medically unnecessary, inappropriate, and

11   unauthorized testing, at exorbitant prices, as detailed above.

12          135. GS Labs’ practices are deceptive, unfair, and unlawful.

13          136. Any claims that Premera has denied, are pending, or that GS Labs may submit in

14   the future that were or are tainted by the conduct described above are not payable and void.

15          137. There is a bona fide, present need for a declaration as to the unlawfulness of GS

16   Labs’ conduct. Premera is entitled to a judgment declaring that GS Labs’ practices, as

17   described above, violate the terms of Premera’s ERISA plans and are not payable and void.

18          138. Premera further seeks an order enjoining GS from continuing to submit false and

19   misleading insurance claims to Premera’s ERISA plans seeking reimbursement for medically

20   unnecessary, inappropriate, and unauthorized testing, at exorbitant prices, as detailed above.

21          139. Finally, Premera seeks recovery of its reasonable attorney fees and costs, under

22   ERISA § 502(g)(1), 29 U.S.C. § 1132(g)(1).

23             COUNT III: DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

24          140. Premera incorporates by reference the above paragraphs as if fully set forth herein

25   and further alleges as follows.

26          141. There is an actual, substantial, and present controversy between GS Labs and

27   Premera concerning the amount of payment (if any) due in connection with claims submitted
     COMPLAINT – 33                                                   KILPATRICK TOWNSEND & STOCKTON LLP
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 1    by GS Labs to Premera for COVID-19 testing that Premera has denied or that are currently

 2    pending, as well as with respect to the claims that GS Labs continues to submit.

 3           142. First, there is a controversy as to Premera’s obligation to pay for COVID-19

 4    testing that it contends was medically unnecessary, inappropriate, and unauthorized for the

 5    reasons detailed herein.

 6           143. Second, there is a controversy as to Premera’s obligation to pay claims submitted

 7    by GS Labs to the extent those claims include material falsehoods (including with respect to

 8    whether GS Labs actually performed the tests billed), as detailed above.

 9           144. Third, there is a controversy as to Premera’s obligation to pay for COVID-19

10    testing that GS Labs admits was tainted by “deviat[ions] from applicable laboratory standards

11    for testing facilities” that “may have impacted [patients’] test results.”

12           145. Fourth, to the extent that the claims GS Labs has submitted are payable at all, there

13    is a controversy as to whether Premera is obligated to pay the rates GS Labs demands—i.e., GS

14    Labs’ exorbitant claimed “cash prices” under the CARES Act.

15           146. Premera and GS Labs have adverse legal interests. GS Labs contends that it is

16    entitled to payment in full from Premera totaling more than $26 million dollars for claims it has

17    submitted, and that it may pursue this amount from Premera through litigation. Although GS

18    Labs has not specifically informed Premera of the legal basis for its potential claims, GS Labs

19    has recently filed suit against another insurer under materially identical circumstances, bringing

20    a purported claim under the CARES Act, a variety of equitable and quasi-contractual claims,

21    and a claim under the relevant state prompt-pay statute. 43 On information and belief, GS Labs

22    intends to assert these same or similar claims against Premera. Were GS Labs to bring these

23    claims against Premera, the parties’ complete diversity and the amount in controversy would

24    satisfy the prerequisites for subject matter jurisdiction in this Court.

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        See Answer & Counterclaims, Blue Cross and Blue Shield of Kansas City v. GS Labs, LLC,
27    Case No. 21-cv-00525 (W.D. Mo. Aug. 5, 2021).
     COMPLAINT – 34                                             KILPATRICK TOWNSEND & STOCKTON LLP
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 1          147. Premera contends that it is obligated to pay only a fraction of the claims GS Labs

 2   has submitted, if any, due to the misconduct detailed above. Premera further contends that, to

 3   the extent it is obligated to pay at all, it need only pay the fair market value of GS Labs’

 4   COVID-19 testing, as opposed to the exorbitant rates GS Labs demands.

 5          148. GS Labs continues to submit claims to Premera that raise these same disputes.

 6          149. The controversies between GS Labs and Premera are substantial and of sufficient

 7   immediacy and reality to warrant declaratory relief. GS Labs has threatened legal action against

 8   Premera if Premera will not pay an amount to its satisfaction. Premera and GS Labs attempted

 9   to negotiate a resolution of these controversies, but reached an impasse. At this point, it is clear

10   that the parties cannot reach an amicable resolution of their dispute. Moreover, as discussed

11   above, GS Labs has recently asserted claims against another insurer with which it could not

12   reach an agreement under materially identical circumstances.

13          150. Accordingly, there is a bona fide, actual, present, and practical need for a

14   declaration based upon the foregoing with respect to the claims GS Labs has submitted to

15   Premera, as well as the claims that GS Labs continues to submit to Premera. GS Labs’ demands

16   for payment have created a cloud of legal uncertainty as to Premera’s liability with respect to

17   an ever-growing number of claims for COVID-19 testing, and Premera faces a present threat of

18   litigation. Premera thus requests a judgment be entered declaring the following:

19                  a. Neither Premera, nor its members, need pay claims submitted by GS Labs

20                      pertaining to medically unnecessary, inappropriate, and unauthorized testing,

21                      as described above;

22                  b. Neither Premera, nor its members, need pay claims submitted by GS Labs

23                      that include material falsehoods, as detailed above;

24                  c. Neither Premera, nor its members, need pay claims submitted by GS Labs

25                      that have been tainted by “deviat[ions] from applicable laboratory standards

26                      for testing facilities” that “may have impacted [patients’] test results,” or

27                      other unacceptable lapses in quality and reliability; and
     COMPLAINT – 35                                                   KILPATRICK TOWNSEND & STOCKTON LLP
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 1                  d. To the extent the claims GS Labs submits are payable at all, Premera is not

 2                       obligated under any source of law to pay the rates GS Labs claims to be its

 3                       “cash prices,” but need only pay rates that are fair and reasonable in light of

 4                       the market and the amounts Premera pays other labs for COVID-19 testing.

 5                                       PRAYER FOR RELIEF

 6          WHEREFORE, Premera respectfully requests an award in its favor and granting the

 7   following relief:

 8          a.      Damages as requested herein;

 9          b.      Declaratory relief as requested herein;

10          c.      Injunctive relief as requested herein;

11          d.      An award of attorneys’ fees;

12          e.      Prejudgment and post-judgment interest; and

13          f.      An award of any other relief in law or equity that the Court deems just and

14                  proper.

15          DATED this 14th day of October, 2021.

16                                               KILPATRICK TOWNSEND & STOCKTON LLP
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